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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:08CR326
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
JARROD A. KING,                               )
                                              )
              Defendant.                      )

       The Court has received the Revised Presentence Investigation Report (“PSR”) and

the parties’ objections thereto (Filing Nos. 64, 65). See "Order on Sentencing Schedule,"

¶ 6. The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

       The parties object to the quantity of controlled substance attributable to the

Defendant in ¶ 36 and the base offense level 34. The plea agreement recommends a base

offense level of 32 based on a drug quantity of at least 500 grams but less than 1.5

kilograms of a mixture or substance containing methamphetamine. The Court’s tentative

findings are that, absent unusual circumstances, the plea agreement should be upheld and

the base offense level should be calculated as level 32.

       IT IS ORDERED:

       1.     The Court’s tentative findings are that the parties’ objections (Filing Nos. 64,

65) to the PSR are granted;

       2.     The parties are notified that my tentative findings are that the PSR is correct

in all other respects;
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       3.     If any party wishes to challenge these tentative findings, the party shall file,

as soon as possible but in any event before sentencing, and serve upon opposing counsel

and the court a motion challenging these tentative findings, supported by (a) such

evidentiary materials as are required (giving due regard to the requirements of the local

rules of practice respecting the submission of evidentiary materials), (b) a brief as to the

law, and (c) if an evidentiary hearing is requested, a statement describing why an

evidentiary hearing is necessary and an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this order,

my tentative findings may become final;

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 6th day of January, 2009.


                                           BY THE COURT:


                                           s/Laurie Smith Camp
                                           United States District Judge




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